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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                           11/2/2020
---------------------------------------------------------------------- X
                                                                       :
SAUL QUIZET RIVERA et al.,                                             :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :     15-CV-6293 (JPC)
                  -v-                                                  :
                                                                       :          ORDER
GRILL ON 2ND LLC et al.,                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        On October 20, 2020, the Court ordered the parties to submit a joint letter updating the Court

on the status of the case by October 30, 2020. (Dkt. 83.) The parties failed to submit this letter to

the Court. By November 4, 2020, it is hereby ORDERED that either (1) the parties must file on

ECF the joint letter described in Dkt. 83 or (2) each party must submit a letter, of no more than five

pages, showing cause why sanctions should not be imposed in light of the parties’ failure to comply

with the Court’s Order of October 20, 2020.

        SO ORDERED.

Dated: October 31, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
